[1] Appellants were found guilty of robbery and on October 11, 1932, the trial court denied a motion made by them for a new trial. At the same time they gave oral notice of appeal. On October 21st, ten days thereafter, they filed request for a transcript of the official court reporter's notes of the trial, and in connection with the request they stated the grounds of their appeal. It is provided in section 7 of Rule II of the Rules for the Supreme Court and District Courts of Appeal that such a request and *Page 559 
statement of grounds of appeal must be made "within five days after giving notice of appeal". The rule further provides: "If such application is not filed within said time, the appeal shall be dismissed." (See, also, People v. Schroeder, 112 Cal.App. 550
[297 P. 105].)
Appeal dismissed.
Stephens, J., and Archbald, J., pro tem., concurred.